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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                 CORPUS CHRISTI DIVISION

                                                              §
MARC VEASEY, JANE HAMILTON, SERGIO                            §
DELEON, FLOYD J. CARRIER, ANNA BURNS,                         §
MICHAEL MONTEZ, PENNY POPE, OSCAR                             §
ORTIZ, KOBY OZIAS, JOHN MELLOR-                               §
CRUMLEY, PEGGY HERMAN, EVELYN                                 §
BRICKNER, GORDON BENJAMIN, KEN                                §
GANDY, LEAGUE OF UNITED LATIN                                 §
AMERICAN CITIZENS (LULAC), AND DALLAS                         §
COUNTY, TEXAS                                                 §
     Plaintiffs,                                              §
                                                              §
                                                              §           CIVIL ACTION NO.
                                                              §           2:13-CV-I93 (NGR)
                                                                          [Lead case]
RICK PERRY, Governor of Texas; and JOHN
STEEN, Texas Secretary of State,
      Defendants.


UNITED STATES OF AMERICA,
     Plaintiff

TEXAS LEAGUE OF YOUNG VOTERS
EDUCATION FUND, IMANI CLARK, AURICA
WASHINGTON, CRYSTAL OWENS, AND
MICHELLE BESSIAKE,
     Plaintiff-Intervenors,

TEXAS ASSOCIATION OF HISPANIC COUNTY
JUDGES AND COUNTY COMMISSIONERS,
HIDALGO COUNTY AND MARIA LONGORIA
BENAVIDES,
     Plaintiff-Intervenors,                                               CIVIL ACTION NO.
                                                                          2:13-CV-263 (NGR)
v.                                                                        [Consolidated Case)

STATE OF TEXAS, JOHN STEEN, in his official
capacity as the Texas Secretary of State, and
                                                                                           2:13-cv-193
                                                                                                         exhibitsticker.com




STEVE McCRAW, in his official capacity as                                                  09/02/2014
Director of the Texas Department of Public Safety,
       Defendants.                                                                         DEF0203


TEXAS STATE CONFERENCE OF NAACP                                                             pwi
BRANCHES; and the MEXICAN AMERICAN



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Plaintiff, Evelyn Brickner's, Response to Defendants' First Interrogatory - Page 1 of 10
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 LEGISLATIVE CAUCUS OF THE TEXAS
 HOUSE OF REPRESENTATIVES,
      Plaintiffs,                                                          CIVIL ACTION NO.
                                                                           2:13-CV-291 (NGR)
                                                    §                      [Consolidated Case]
                                                    §
JOHN STEEN, in his official capacity as Secretary   §
of State of Texas; and STEVE McCRAW, in his         §
official capacity as Director of the Texas          §
Department of Public Safety,                        §
         Defendants.                                §
                                                    §
                                                    §
                                                    §
BELINDA ORTIZ, LENARD TAYLOR, EULALIO §
MENDEZ JR, LIONEL ESTRADA; ESTELA                   §
GARCIA ESPINOSA; ROXANNE HERNANDEZ,                 §
LYDIA LARA, MARGARITO MARTINEZ LARA, §
MAXIMA MARTINEZ LARA, and LA UNION                  §
DEL PUBELR ENTERO, INC,                             §                     CIVIL ACTION NO.
         Plaintiffs,                                §                     2:13-CV-348 (NGR)
                                                    §                     [Consolidated Case]
v.                                                  §
                                                    §
STATE OF TEXAS; JOHN STEEN, in his official         §
capacity as Texas Secretary of State, and STEVE     §
McCRAW, in his official capacity as Director of the §
Texas Department of Public Safety,                  §
         Defendants.
                                                    §




                      PLAINTIFF, EVELYN BRICKNER'S, RESPONSE TO
                          DEFENDANTS' FIRST INTERROGATORY



TO: Defendants State of Texas, Rick Perry, the Texas Secretary of State, and Steve
McCraw by and through their attorney, John Scott, Deputy Attorney for Civil Litigation,
Office of the Attorney General, via first class mail, return receipt requested to 209 West
14th Street, P.O. Box 12548, Austin, TX 70711-2548

         COMES NOW Plaintiff, EVELYN BRICKNER, pursuant to Fed.R.Civ.P. 34, and

submits her response to Defendants' First Request for Interrogatory.




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                                  OBJECTIONS TO DEFINITIONS

          1.      Plaintiff objects to the definition of the term "Electronically                   Stored

Information" on the grounds that the definition is overly broad and unduly burdensome.

Plaintiff further objects to this definition to the extent that it seeks information not in

P l a i n t i f f s possession, custody, or control.       Accordingly, Plaintiff interprets the term

"Electronically Stored Information" as synonymous in meaning and equal in scope to the

usage of the term "electronically stored information" in Rule 34 of the Federal Rules of

Civil Procedure.

         2.       Plaintiff objects to the definition of the term "document" on grounds that

the definition is overly broad and unduly burdensome.                     Plaintiff further objects to this

definition to the extent that it seeks information not in Plaintiffs possession, custody, or

control. Plaintiff interprets the term "document" as synonymous in meaning and equal in

scope to the usage of the term "document" in Rule 34 of the Federal Rules of Civil

Procedure.

         3.      Plaintiff objects to the definition of "you and your" on grounds that the

definition is overly broad and unduly burdensome.                       Plaintiff further objects to this

definition to the extent that it includes within the definition individuals who are not

parties to this litigation. Plaintiff interprets for purposes of these document requests "you

and your" to respectively refer to any individual.




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 I N T E R R O G A T O R Y NO. 1;

Please identify and describe in detail all facts that support your claim that SB 14, as
enacted by the State of Texas' 82nd Legislature, was enacted with a discriminatory
purpose and intent. This interrogatory includes a request to identify any documents or
tangible things you intend to rely on at trial which have not been, or will not be, produced
in response to any Request for Production propounded on you or any other party by
Defendants.

                                               OBJECTIONS

          1.      Plaintiff objects to Defendants' First Interrogatory to the extent it seeks

information or the disclosure of information which is protected by any privilege or

immunity including the attorney-client privilege, work product doctrine, common interest

privilege or any other statutory or common law privilege. Plaintiff reserves the right to

withhold such information. Any inadvertent disclosure of such privileged or otherwise

protected information shall not be deemed a waiver of any privilege or work product

immunity. The Clawback Order entered in this matter on November 4, 2013 governs any

such disclosure. See Agreement Concerning Production Format, ECF No. 61-6.

         2.      Plaintiff objects to Defendants' First Interrogatory to the extent Defendants

attempt or purport to impose greater or different obligations in discovery than are

required by the Federal Rules of Civil Procedure or the Local Rules of this Court.

         3.      Plaintiff objects to Defendants' First Interrogatory to the extent Defendants

seek information that calls for a legal conclusion.

         4.      Plaintiff objects to Defendants' First Interrogatory on the grounds that it is

vague, ambiguous, and makes responding impossible without speculation.

         5.      Plaintiff objects to Defendants' First Interrogatory to the extent that it seeks



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 information not within P l a i n t i f f s possession, custody or control.

          6.        Plaintiff objects to Defendants' First Interrogatory to the extent that it is

 premature at this stage of discovery. For example, but not limited to, the identification of

 documents to be produced at trial is governed by the Court's scheduling order.

         7.       Plaintiff's consent herein to respond to Defendants' First Interrogatory shall

not be construed as an admission by Plaintiff that such information, in fact, exists or that

such information, if it exists, is in P l a i n t i f f s possession, custody or control.

         8.       Plaintiff responds solely for the purpose of and in relation to this action.

P l a i n t i f f s Response to Defendants' First Interrogatory is made subject to any and all

objections to competence, relevance, materiality, and admissibility that would require the

exclusion at the time of trial of any statement and/or document produced in response to

the First Interrogatory. Plaintiff reserves the right to interpose such objections at the time

of trial, if any.

         9.      Plaintiff reserves the right to amend, revise or supplement its responses at

any time prior to trial or otherwise permitted by applicable law or under the Court's

Scheduling Order.

         10.     To the extent P l a i n t i f f s response to the Defendants' First Interrogatory

requires the disclosure of protected material, including but not limited to confidential

information or any information implicating privacy interests, P l a i n t i f f s response shall be

subject to the Consent Protective Order entered in this matter on December 5, 2013, E C F

No. 105, or any subsequent revisions to the Protective Order agreed upon by the parties.

Plaintiff further objects to the extent Defendants' First Interrogatory seeks confidential or

Plaintiff, Evelyn Brickner's, Response to Defendants' First Interrogatory - Page 5 of 10
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 personal information of a third party, the disclosure of which is not permitted by reason

 of privacy laws or other binding legal obligation.

          11.     Plaintiff objects to Defendants' First Interrogatory to the extent that it seeks

 documents that are neither relevant to the issues in this dispute nor reasonably calculated

to lead to the discovery of admissible evidence.                      To the extent Plaintiff identifies

documents in response to the Interrogatory, Plaintiff does not concede that the documents

are admissible in evidence or relevant to this action.

          12.     Plaintiff objects to Defendants' First Interrogatory as vague, ambiguous,

overly broad, and unduly burdensome.                 P l a i n t i f f s response is with respect to the time

period from January 1, 2012 to the present, unless otherwise indicated.

         13.      Plaintiff objects to Defendants' First Interrogatory insofar as it seeks

identification of documents that are unreasonably cumulative or duplicative, already in

the possession of Defendants, primarily or exclusively within Defendants' knowledge or

control, or obtainable from some other source that is less burdensome or less expensive.

Plaintiff objects to Defendants' First Interrogatory to the extent it seeks identification of

documents beyond those in P l a i n t i f f s possession, custody, or control.

         14.     Plaintiff objects to Defendants' First Interrogatory to the extent that it is

unclear, ambiguous, overly broad, or unduly burdensome.

         15.     Plaintiff objects to Defendants' First Interrogatory requesting "all," "each,"

or "any" identification of documents and/or facts on grounds that such requests are overly

broad and unduly burdensome, seek irrelevant information, and seek to impose

obligations beyond those imposed by law.                    Plaintiff will construe the terms of the

Plaintiff, Evelyn Brickner's, Response to Defendants' First Interrogatory - Page 6 of 10
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 Interrogatory to request that they use reasonable diligence to identify responsive non-

 privileged documents, based on examination of those sources that may reasonably be

 expected to yield such documents and of course Plaintiff reserves the right to continue to

 supplement these responses to the extent additional documents are located.

          16.     Plaintiff objects to this First Interrogatory as harassing and burdensome.

The above objections, and those made by other parties, are incorporated by reference

herein. Dallas County further objects to this Interrogatory as a premature contention

interrogatory that seeks a comprehensive identification of relevant facts before the close

of discovery. See Fed. R. Civ. P. 33(a)(2); Wallace v. GEO Grp., Inc., No. 2:12-cv-2745,

2013 WL 6490320, at *3 (W.D. La. Dec. 10, 2013); Brassell v. Turner, No. 3:05-cv-476,

2006 WL 1806465, at *3 (S.D. Miss. June 29, 2006). Furthermore, the discriminatory

purpose underlying SB 14 is described in substantial detail in the Private Plaintiffs and

United States' Responses in Opposition to Defendants' Motion to Dismiss filed in this

case(ECF. No. 92); the Defendant-Intervenors' and U.S.'s Proposed Findings of Fact in

Texas v. Holder, No. 1:12-CV-00128 (D.D.C. June 25, 2012) (ECF. No. 223); the expert

report and supplemental expert reports of all expert witnesses produced in Texas v.

Holder, No. l:12-cv-128 (D.D.C.); the depositions taken in Texas v. Holder, No. l:12-cv-

128 (D.D.C.); the exhibits entered into evidence in Texas v. Holder, No. l:12-cv-128

(D.D.C.); the transcript of the trial conducted in Texas v. Holder,                        No. l:12-cv-128

(D.D.C.); the findings of fact and opinion of the court in Texas v. Holder, 888 F. Supp. 2d

113, 138, 144 (D.D.C. 2012), vacated,             133 S. Ct. 2886 (2013)); the materials included in

the Private Plaintiffs' and United States' Initial Disclosures. All of the aforementioned

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 documents are in Defendants' possession.


         Additionally, please see the voluminous emails and other documents generated by

Texas State Legislators and/or their respective staff members relating to various Texas'

efforts to legislatively enact a photo ID bill in the legislative sessions of 2007, 2009, 2011

and 2013. Additionally, please see Attorney General, Greg Abbott's announcement that

Senate Bill 14 would be immediately implemented, which was issued on or about June

25 th , 2014, the same day that the United States Supreme Court issued its opinion in

Shelby County v. Holder.


         P l a i n t i f f s counsel reserves the right to supplement this Interrogatory answer and

specifically directs Defendants' attention to the deposition of Keith Ingram completed on
            j


April 23 , 2014, which was the first deposition completed in this case. As Defendant

knows there will be many depositions completed in this case that will contain information

responsive to this interrogatory and many expert reports produced, which will also

contain information responsive to this interrogatory, all of which are incorporated by

reference in P l a i n t i f f s response to this Interrogatory.




        Dated this 30th day of April, 2014.


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                                                         Respectfully submitted,

                                                         BRAZIL & DUNN LLP




                                                            /s/ Chad W. Dunn
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                                                         Facsimile (214) 653-6134
                                                         Teresa.Snelson@dallascountv.org

                                                         ATTORNEYS FOR DALLAS COUNTY,
                                                         TEXAS




                                    CERTIFICATE OF SERVICE

          The undersigned here by certifies that a true and correct copy of the foregoing has
b e e n sent b y electronic mail in accordance with the Federal Rules of Civil Procedure, this
30th day of April, 2014 to all counsel of record:



                                                                  /s/ Chad W. Dunn
                                                             Chad W. D u n n




Plaintiff, Evelyn Brickner's, Response to Defendants' First Interrogatory - Page 10 of 10 1
